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8
9                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE CENTRAL DISTRICT OF CALIFORNIA
10
11
     NATURAL-IMMUNOGENICS                 Case No. 8:15-cv-02034-JVS (JCG)
12   CORP.,
13
                                          PLAINTIFF NIC’S SUPPLEMENTAL
                        Plaintiff,        BRIEF IN OPPOSITION TO
14                                        DEFENDANTS REID AND
           v.                             KNOWLES MOTION FOR
15                                        JUDGMENT ON THE PLEADINGS
     NEWPORT TRIAL GROUP, et al.,
16
                       Defendants.        FILED PURSUANT TO COURT
17
                                          ORDER AT DOCKET 1072
18
19
                                          Judge:          Hon. James V. Selna
                                          Special Master: Hon. Andrew Guilford
20                                                        (Ret.)
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1          Plaintiff Natural-Immunogenics Corp. (“NIC”) hereby submits the
2    supplemental brief requested by the Court in Docket No. 1072 concerning
3    Defendants’ Motion for Judgment on the Pleadings (Dkt. 1057).
4
        A. Defendants Have Waived Argument under Rule 9(b)
5          Arguments under Rule 9(b) are waived unless made before the defendant
6    files its answer. Burdick v. Union Sec. Ins. Co., No. CV 07-4028 ABC (JCX),
7    2009 WL 4798873, at *15 (C.D. Cal. Dec. 9, 2009); Prakash v. Pulsent Corp.
8    Employee Long Term Disability Plan, No. C-06-7592 SC, 2008 WL 3905445, at
9    *2 (N.D. Cal. Aug. 20, 2008); Todaro v. Orbit Int'l Travel, Ltd., 755 F. Supp.
10   1229, 1234 (S.D.N.Y. 1991); In re Universal Factoring Co., Inc., 279 B.R. 297,
11   301 (Bankr. N.D. Okla. 2002) (“A defendant's failure to raise its Rule 9(b)
12   argument with or before its answer operates as a waiver of that argument.”). “The
13   purpose of Rule 9(b) is to assure that defendants are apprised of the allegations
14   against them in sufficient detail to frame an adequate responsive pleading.”
15   Prakash, No. C-06-7592 SC, 2008 WL 3905445, at *2 (citing Todaro, 755 F.
16   Supp. at 1234). Once a defendant has answered and extensively litigated the
17   claim, any argument that it was not given sufficient notice to adequately defend or
18   answer the claim is unwarranted and waived. Id.
19         Here, the Court already found in its tentative order that NIC’s injury and its
20   alleged cause of injury have been the same in each of its four iterations of the
21   complaint. See Tentative at 2. NIC’s allegations on those issues certainly have not
22   changed since NIC filed a Second Amended Complaint (Dkt. 92) in 2016. NIC’s
23   recent amendment did not materially alter allegations regarding the Nilon v. NIC
24   matter (the matter from which NIC’s injury springs). See generally Dkt. 1007.
25   NIC also filed a RICO case statement which described allegations surrounding
26   proximate causation. Dkt. 201 at 34. Discovery has proceeded for years without
27   Defendants uttering a word that they needed more specificity to prepare a defense.
28   Defendants already answered each of NIC’s Complaints (including NIC’s Fourth

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1    Amended Complaint) without raising a Rule 9(b) affirmative defense or filing a
2    motion to dismiss on 9(b) grounds regarding causation. Dkt. 1016 at 74-76.
3    Discovery is in the final phase and the parties are nearing the final pretrial phases.
4    There is simply no justification for Defendants’ quite untimely Rule 9(b) argument
5    and, under the precedent, Defendants have waived that argument. 1
6
        B. Rule 9(b) Does not Apply to RICO Elements of Causation or Proximate
7          Causation
8          Defendants argue that NIC has not pled proximate causation vis-à-vis
9    “reliance” with sufficient particularity to satisfy Rule 9(b). That argument rests on
10   an erroneous assumption of law: that Rule 9(b) applies to the elements of
11   causation or proximate causation. It does not.
12         The Ninth Circuit has held that the only elements of a RICO claim subject to
13   Rule 9(b) are the facts of the specific fraud underpinning predicate acts based on
14   fraudulent conduct. Odom v. Microsoft Corp., 486 F.3d 541, 554 (9th Cir. 2007)
15   (In a RICO case, “the only aspects of wire fraud that require particularized
16   allegations are the factual circumstances of the fraud itself.”); see also Qureshi v.
17   Countrywide Home Loans, Inc., No. C09-4198, 2010 WL 841669, at *10 (N.D.
18   Cal. Mar. 10, 2010) (“The heightened pleading standards of Rule 9(b) apply to
19   fraud elements of RICO claim.”); Salvador v. PNC Bank, N.A., No. C 14-2219,
20   2014 WL 12709677, at *1 (N.D. Cal. July 11, 2014) (same). Causation and
21   proximate causation are general RICO elements to which Rule 9(b)’s requirements
22   do not apply:
23
           To state a claim for violation of section 1962(c), the plaintiff must
24         allege that the defendant engaged in “(1) conduct (2) of an enterprise
           (3) through a pattern (4) of racketeering activity (known as ‘predicate
25
           acts’) (5) causing injury to plaintiff’s business or property.”
26
           1
             Although the Court found that Defendants had not waived the right to
27   advance a Rule 12(c) Motion, the issue of whether they have waived argument
28   under Rule 9(b) is distinct and subject to a different legal evaluation. The Court
     should find Defendants’ have waived the right to make an argument about
     insufficient notice at this late stage.
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2    See Dkt. 157 at 6 (quoting Living Designs, Inc. v. E.I. Dupont de Nemours and Co.,

3    431 F.3d 353, 361 (9th Cir. 2005)) (emphasis added). The elements for wire fraud

4    and mail fraud predicate acts—which are the only aspects subject to Rule 9(b)—

5    are sub-elements that may establish the “pattern of racketeering activity” through

6    the existence of sufficient predicate acts. Id. at 7 (citing Sedima, S.P.R.L v. Imrex

7    Co, Inc., 473 U.S. 479, 495 (1985)). The predicate acts of wire fraud and mail

8    fraud do not include elements for reliance, causation, or proximate causation. Id.

9    at 12-14 (listing the three elements of wire fraud and mail fraud and rejecting

10   Defendants’ argument that reliance is required).

11            Courts in other jurisdictions have similarly rejected the notion that Rule 9(b)

12   applies to the general RICO elements. See e.g., Menzies v. Seyfarth Shaw LLP,

13   197 F. Supp. 3d 1076, 1083 (N.D. Ill. 2016) (applying Rule 8 standard to all non-

14   fraud elements of RICO claim and only applying 9(b) to the mail and wire fraud

15   predicates themselves); Proctor v. Metro. Money Store Corp., 645 F. Supp. 2d 464,

16   476 (D. Md. 2009).

17            In recognition of Rule 9(b)’s limitation to fraud elements only, this Court

18   earlier did not apply Rule 9(b) to general RICO elements and instead properly

19   focused only on Rule 9(b)’s application to the specific elements of wire fraud, mail

20   fraud, and extortion. See Dkt. 157 at 12-16. Thus, it is already the law of this case

21   that Rule 9(b) has no application to the general RICO elements of proximate

22   causation and causation.

23            Finally, as this Court correctly found in its tentative order, reliance is not an

24   element of NIC’s RICO claim. See Tentative at 11. There is no precedent

25   suggesting that a party must allege facts sufficient to meet Rule 9(b)’s particularity

26   requirement as to that which is not a RICO element. Such a rule would make no

27   sense.

28            Thus, Defendants’ references to Rule 9(b) are simply a red herring. Rule
     9(b) does not apply to the issues raised by Defendants.
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1       C. Rouse v. US Dep’t of State Does Not Impact the Court’s Tentative Order
2          The Court invited the parties to brief whether Rouse v. United States Dep’t

3    of State, 567 F.3d 408 (9th Cir. 2009) has an impact on the Court’s tentative order.

4    The decision does not impact the Court’s tentative order.

5          In Rouse, the Ninth Circuit held that a plaintiff’s allegation of proximate

6    causation was speculative because that plaintiff alleged a chain of events that was

7    too far removed from the defendants’ conduct. 567 F.3d at 417-18. In that case, a

8    number of intervening causes occurred within that chain of events which rendered

9    the proximate causation too speculative. Id.

10         Here, there is no speculation about NIC’s or the Court’s reliance, and there

11   was no intervening actor. NTG, through its attorneys (including Reid and

12   Knowles) filed false legal claims that made knowingly false allegations. Dkt. 1007

13   at ¶¶ 63-86. NIC moved to dismiss those claims twice and ultimately lost because

14   the Court was legally required to assume the truth of every allegation in

15   Defendants’ complaint. See Nilon v. NIC, Case No. 3:12-0930 (S.D. Cal. 2012),

16   Dkt. Nos. 9 (discussing and assuming the truth of, Nilon’s allegations regarding his

17   alleged purchase of Sovereign Silver) and 41 (discussing in detail, and assuming

18   the truth of, Nilon’s allegations regarding his product experience). Rule 12(b)(6)

19   requires a court and defendant to rely on factual averments in the complaint. See

20   Cahill v. Liberty Mut. Ins. Co., 80 F.3d 336, 337–38 (9th Cir. 1996). That legal

21   standard presumes the truth of every material allegation. Id. NIC has alleged that

22   these misrepresentations and omissions were material and made by Knowles and

23   Reid. Dkt. 1007 at ¶¶ 67-68, 73, 81, 85, 86, 87. Thus, there is no speculation

24   regarding whether NIC and the Court relied on NTG’s representations and

25   omissions because reliance was required as a matter of law and the

26   misrepresentations and omissions were directly presented to NIC and the court.

27   Cahill, 80 F.3d at 337–38; see also Daniel v. Ford Motor Co., 806 F.3d 1217, 1225

28   (9th Cir. 2015) (Reliance on an omission is presumed where the omission is
     material). There is also no intervening act or actor involved in this instance.
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1    Defendants made the specific representations to the Court and NIC directly. NIC
2    was directly affected and influence by those misrepresentations, which governed
3    how NIC was able to defend itself against NTG’s fraudulent lawsuit. Rouse is
4    simply inapplicable to the facts here.
5
        D. NIC’s Allegations Satisfy Rule 9(b) but Even if the Court Disagrees,
6          Leave to Amend Should Be Granted
7          NIC has already alleged that both NIC and the court relied on Defendants’
8    misrepresentations and omissions. NIC made those allegations with specificity.
9    See Dkt. 1007 at ¶¶ 67, 68, 81, 86, 87, 448, 449. To the extent the Court now, for
10   the first time, were to rule that NIC’s “reliance” allegations were not specific
11   enough, the appropriate remedy is to permit amendment. Vess v. Ciba–Geigy
12   Corp. USA, 317 F.3d 1097, 1108 (9th Cir.2003) (“dismissals for failure to comply
13   with Rule 9(b) should ordinarily be without prejudice,” and “ ‘[l]eave to amend
14   should be granted if it appears at all possible that the plaintiff can correct the
15   defect.’”). The Court earlier ruled that NIC satisfied Rule 9(b) (see Dkt. 157) and
16   thus, this would be the first opportunity NIC has been given to amend based on an
17   alleged failure to plead with particularity. NIC can easily allege specific instances
18   of reliance as to a number of predicate acts in the Nilon v. NIC matter. Here, both
19   the Southern District and NIC withheld certain actions or proceeded differently
20   because they lacked knowledge of the true facts, to wit, that NTG was using hired
21   plaintiffs to pursue sham claims in the absence of legitimate consumer injuries. It
22   seems obvious that NTG’s Nilon lawsuit filed against NIC in 2012 would not have
23   proceeded very far had NTG been candid with the Court regarding its litigation
24   racket. That lawsuit would have quickly ended had NTG disclosed that its
25   manufactured claims were in direct violation of California law.
26   DATED: November 19, 2020
27
28                                             Respectfully submitted,

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1                              CERTIFICATE OF SERVICE
2          I hereby certify that on November 19, 2020, the foregoing, PLAINTIFF
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4    REID AND KNOWLES MOTION FOR JUDGMENT ON THE
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